Case 1:22-cv-00001-TSK   Document 277 Filed 05/20/25    Page 1 of 3 PageID #:
                                   17165


                IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


MCARDLE FAMILY PARTNERSHIP,

           Plaintiff,

     v.                                           CIVIL NO. 1:22-CV-01
                                                         (KLEEH)
ANTERO RESOURCES CORPORATION,

           Defendant.


          ORDER GRANTING MOTION TO CERTIFY [ECF NO. 275]

     On March 29, 2024, the Court entered a Memorandum Opinion and

Order Granting Defendants’ Motion for Summary Judgment [ECF No.

100] and Denying Plaintiff’s Cross-Motion for Summary Judgment

[ECF No. 110] [ECF No. 238] (the “Mem Op”).            In the Mem Op, the

Court dismissed Count Two with prejudice and effectively dismissed

Defendants Key Oil Company and Franklin L. Butler from the case.

Plaintiff appealed the ruling, but the United States Court of

Appeals for the Fourth Circuit found that it lacked jurisdiction.

Plaintiff has now moved the Court to certify the Mem Op under Rule

54(b) of the Federal Rules of Civil Procedure.         Defendant does not

oppose the request.

     Rule 54(b) provides,

           When an action presents more than one claim
           for relief — whether as a claim, counterclaim,
           crossclaim, or third-party claim — or when
           multiple parties are involved, the court may
           direct entry of a final judgment as to one or
           more, but fewer than all, claims or parties
Case 1:22-cv-00001-TSK   Document 277 Filed 05/20/25   Page 2 of 3 PageID #:
                                   17166
MCARDLE V. ANTERO                                               1:22-CV-01

            ORDER GRANTING MOTION TO CERTIFY [ECF NO. 275]

            only if the court expressly determines that
            there is no just reason for delay. Otherwise,
            any   order   or   other   decision,   however
            designated, that adjudicates fewer than all
            the claims or the rights and liabilities of
            fewer than all the parties does not end the
            action as to any of the claims or parties and
            may be revised at any time before the entry of
            a judgment adjudicating all the claims and all
            the parties’ rights and liabilities.

The Court follows a two-part test in making determinations under

Rule 54(b).    See Curtiss-Wright Corp. v. Gen. Elec. Co., 446 U.S.

1, 7 (1980).    “[A] district court must first determine that it is

dealing with a ‘final judgment.’”        Id. (citation omitted).        “It

must be a ‘judgment’ in the sense that it is a decision upon a

cognizable claim for relief, and it must be ‘final’ in the sense

that it is ‘an ultimate disposition of an individual claim entered

in the course of a multiple claims action.’”               Id. (citation

omitted).     Second, “the district court must go on to determine

whether there is any just reason for delay.”       Id. at 8.    The Fourth

Circuit has established factors relevant for determining whether

there is any “just reason for delay.”          See Braswell Shipyards,

Inc. v. Beazer E., Inc., 2 F.3d 1335, 1335–36 (4th Cir. 1993).

The factors are as follows:

            (1) the relationship between the adjudicated
            and unadjudicated claims; (2) the possibility
            that the need for review might or might not be
            mooted by future developments in the district
            court; (3) the possibility that the reviewing
            court might be obliged to consider the same
            issue a second time; (4) the presence or

                                    2
Case 1:22-cv-00001-TSK   Document 277 Filed 05/20/25   Page 3 of 3 PageID #:
                                   17167
MCARDLE V. ANTERO                                                1:22-CV-01

           ORDER GRANTING MOTION TO CERTIFY [ECF NO. 275]

           absence of a claim or counterclaim which could
           result in a set-off against the judgment
           sought to be made final; (5) miscellaneous
           factors such as delay, economic and solvency
           considerations, shortening the time of trial,
           frivolity of competing claims, expense, and
           the like.

Id.

      For the reasons discussed by Plaintiff, and given the lack of

opposition by Defendant, the Court finds that the Mem Op is a final

judgment   and   that    the   Braswell   factors   weigh   in   favor    of

certification.    The Court finds that there is no just reason for

delay.   Accordingly, Plaintiff’s motion is GRANTED [ECF No. 275],

and the Court CERTIFIES the Mem Op [ECF No. 238] as a final,

appealable judgment under Rule 54(b).

      It is so ORDERED.

      The Clerk is DIRECTED to transmit copies of this Order to

counsel of record.

      DATED: May 20, 2025



                                   ____________________________
                                   THOMAS S. KLEEH, CHIEF JUDGE
                                   NORTHERN DISTRICT OF WEST VIRGINIA




                                     3
